                                                     SO ORDERED.


                                                     Dated: June 21, 2023




                                                     Daniel P. Collins, Bankruptcy Judge
                                                     _________________________________




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